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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:97-CR-82
v.
                                                        HON. ROBERT HOLMES BELL
RODNEY ATKINSON,

              Defendant.
                                   /


                       MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1007). Based on a review of

defendant’s motion, the Sentence Modification Report, response by the Government, and the

original criminal file, the Court has determined that the motion should be denied for the

following reason(s):

       At the time of sentencing on May 1, 1998, the Court found that defendant was

involved in at least 1.5 kilograms of cocaine base. The presentence report indicated

defendant’s criminal activity involved at least 11 kilograms of cocaine base. Amendment

706 of the Sentencing Guidelines lowered the base offense level for 1.5 kilograms of cocaine

base to level 36. Presumably, had Amendment 706 been in affect at the time of sentencing,

the Court would have found defendant responsible for at least 4.5 kilograms or more of
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cocaine base, found at level 38. Consequently, Amendment 706 does not result in lowering

the defendant’s applicable guideline range. Accordingly, defendant’s motion is hereby

DENIED.




Date:   April 1, 2011                   /s/ Robert Holmes Bell
                                        ROBERT HOLMES BELL
                                        UNITED STATES DISTRICT JUDGE
